
672 S.E.2d 686 (2009)
James M. CLONTZ, Employee
v.
HOLLAR &amp; GREENE PRODUCE COMPANY, Employer and
Travelers Insurance Company, Carrier.
No. 193P08.
Supreme Court of North Carolina.
February 5, 2009.
Martha Brown, Greensboro, for Clontz.
Sharon E. Dent, Charlotte, for Produce Co., et al.

ORDER
Upon consideration of the petition filed on the 22nd day of April 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
